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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGI A
                              BRUNSWICK DIVISIO N


CHRISTOPHER LEE McBEE ,

              Petitioner,

       vs .                                              CIVIL ACTION NO . C 1205-04 5

UNITED STATES OF AMERICA,                                (CASE NO . CR295-6)

              Respondent.


                                         ORDER

       Let a copy of this Report and Recommendation be served upon the parties . The

parties will be allowed ten (10) days from the date of service of this eport and

Recommendation to file objections . If no objections are made, this eport and

Recommendation will be adopted as a record of the proceedings and may ecome the

opinion and order of the Court . Nettles v . Wainwright, 677 F.2d 404 (5th Cir. nit B 1982) .

      All requests for additional time to file any objections to this eport and

Recommendation should be filed with the Clerk for consideration by the and rsigned .

      The Clerk of Court is directed to submit the Report and Recomme dation wit h

objections , if any, on or before the day of ~- , 2005 .

      SO ORDERED , this        I day of AM0151-.




                                                 J MES E . GRAHAM
                                                   NITED STATES MAGISTR TE JUDGE
                                                 Y
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                      United States District Court
                             Southern District of Georgia


CHRISTOPHER LEE MCBE E


vs                                                CASE NUMBER CV205- 45 CR295- 6
USA                                                                    BRUNSWICK
                                                  DIVISION

       The undersigned, a regularly appointed and qualified deputy in the office of the Cle k of this
       district, while conducting the business of the Court for said division, does hereby cc tify the
       following :


        1.      Pursuant to the instructions from the Court and in the performance of my o ficial
                duties, I personally placed in the United States Mail a sealed envelope, and Properl y
                addressed to each of the persons, parties or attorneys named below ; and

        2 . That the aforementioned enveloped contained a copy of the document dated
                 8/8/05                  , which is part of the official record of this case ./


Date of Mailing :            8/8/05

Date of Certificate                   Ncl same date, o r
                                               Scott L . Poff, Clerk



                                               By:    NITA ROSE
                                                      Deputy Clerk
Name and Address
AMY LEE COPELAND
CHRISTOPHER LEE MCBEE U.S . PENITENTIARY BOX 7000 FLORENCE, CO 81226




                                                                          ❑      Copy placed i Minutes

                                                                          ❑      Copy given t Judge
                                                                          ❑      Copy given t Magistrate
